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 7

 8                             UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                             ) Docket No. _2:15-cv-08562-CAS-PLA
11   KIMBERLY SMITH-GALINDO,                 ) ____________
                                             )
12                Plaintiff,                 )
                                             ) NOTICE OF DISMISSAL
13         vs.                               )
                                             )
14                                           )
     PORTFOLIO RECOVERY                      )
15                                           )
     ASSOCIATES, LLC,                        )
16                                           )
                  Defendant                  )
17

18
           PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure
19
     41(a)(1)(A)(i), whereas no opposing party has served either an answer or a motion
20

21   for summary judgment, Plaintiff Kimberly Smith-Galindo, by and through her
22
     undersigned attorney, hereby voluntarily dismisses the above captioned action.
23

24
     Dated: January 5, 2016
25
                                                       THE LAW OFFICES OF
26                                                     JONATHAN A. STIEGLITZ
27
                                                 By:         /s/ Jonathan A Stieglitz
28                                                     Jonathan A Stieglitz
